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                               UNITED STATES BANKRUPTCY COURT
                                 Central District of California, Riverside Division


In Re:            DESERT EQUIPMENT, INC.                                    Case No.
                             Debtor                                                                          (if known)




                                    VERIFICATION OF CREDITOR MATRIX


                   The above named debtor(s), or debtor's attorney if applicable, do hereby certify under

                penalty of perjury that the attached Master Mailing List of creditors, consisting of 3 sheet(s) is
                complete, correct and consistent with the debtor's schedules pursuant to Local Bankruptcy

                Rules and I/we assume all responsibility for errors and omissions.




              03/28/2012                                                                 /s/ Wolfgang F. Hahn
                 Date                                                                    Signature of Attorney




              Signature of Debtor                                                        Signature of Joint Debtor




              /s/ Wayne Reeder
              Signature of Authorized Individual
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                                  UNITED STATES BANKRUPTCY COURT
                                    Central District of California, Riverside Division


In Re:              DESERT EQUIPMENT, INC.                                     Case No.
                                Debtor                                                                          (if known)

                                                VERIFICATION OF MAILING LIST


           The Debtor(s) certifies that the attached mailing list (only one option may be selected per form):

                                   is the first mail matrix in this case.
                                   adds entities not listed on previously filed mailing list(s).
                                   changes or corrects name(s) and address(es) on previously filed mailing list(s).
                                   deletes name(s) and address(es) on previously filed mailing list(s).

           The above named Debtor(s) hereby verify that the attached list of creditors is true and correct.




               03/28/2012                                                                   /s/ Wolfgang F. Hahn
                   Date                                                                     Signature of Attorney




                Signature of Debtor                                                         Signature of Joint Debtor
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                                       UNITED STATES BANKRUPTCY COURT
                                         Central District of California, Riverside Division
In Re:                      DESERT EQUIPMENT, INC.                                 Case No.
                                     Debtor                                                                          (if known)
                                                                                   Chapter                                7


                      LIST OF CREDITORS HOLDING 20 LARGEST UNSECURED CLAIMS

                        Following is the list of the debtor's creditors holding the 20 largest unsecured claims. The list is
                        prepared in accordance with Fed. R. Bankr. P. 1007(d) for filing in this chapter 11 [or chapter 9] case.
                        The list does not include (1) persons who come within the definition of "insider" set forth in 11 U.S.C.
                        101, or (2) secured creditors unless the value of the collateral is such that the unsecured deficiency
                        places the creditor among the holders of the 20 largest unsecured claims. If a minor child is one of the
                        creditors holding the 20 largest unsecured claims, state the child's initials and the name and address of the
                        child's parent or guardian, such as"A.B., a minor child, by John Doe, guardian." Do not disclose the
                        child's name. See, 11 U.S.C. § 112; Fed. R. Bankr. P. 1007(m).


                      (1)                                (2)                             (3)                        (4)                         (5)

   Name of creditor                      Name, telephone number and          Nature of claim            Indicate if claim is        Amount of claim [if
   and complete                          complete mailing address,           (trade debt, bank          contingent,                 secured also state value
   mailing address                       including zip code of               loan, government           unliquidated, disputed      of security]
   including zip                         employee, agent, or department      contract, etc.)            or subject to setoff.
   code                                  of creditor familiar with
                                         claim who may be contacted.



1 CML-CA One, LLC                                                                                       Unliquidated                              $4,691,289
  c/o Katten Muchin Rosenman,
  LLP
  2029 Century Park East Suite
  2600
  Los Angeles CA 90067

2 Astro Corporation                                                                                     Unliquidated                                  $300,000
  PO Box 6591
  Incline Village NV 89450




3 Jessie Warner                                                                                                                                        $53,024
  6424 Yosemitie Place
  Bakersfield CA 93309




4 Patricia McConnell                                                                                    Unliquidated                                    $6,500
  PO Box 1923
  Indio CA 92202
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                      (1)                     (2)                          (3)                 (4)                      (5)

   Name of creditor           Name, telephone number and       Nature of claim     Indicate if claim is     Amount of claim [if
   and complete               complete mailing address,        (trade debt, bank   contingent,              secured also state value
   mailing address            including zip code of            loan, government    unliquidated, disputed   of security]
   including zip              employee, agent, or department   contract, etc.)     or subject to setoff.
   code                       of creditor familiar with
                              claim who may be contacted.



5 Michael Savage                                                                   Unliquidated                                 $4,500
  1138 20th Street Unit 14
  Santa Monica CA 90403




6 Cliff Rush                                                                       Unliquidated                                 $3,980
  7004 N. Baltimore
  Glasdstone MO 64118




7 Dick Carr                                                                                                                     $3,625
  7913 Sechart Court
  Bakersfield CA 93309




8 Cunard Properties                                                                                                             $3,200
  PO Box 901554
  Kansas City MO 64190




9 Amanda Plotner                                                                   Unliquidated                                 $2,785
  1613 SE Abbey Street
  Blue Springs MO 64014




10 Ron Rush                                                                                                                     $2,450
   2000 W. Hobsonway
   Blythe CA 92225




11 Gary Sima                                                                       Unliquidated                                 $2,250
   1419 Murray Street
   N. Kansas City MO 64116




12 Jim Shockey                                                                                                                  $2,150
   602 E. 23rd Street
   Independence MO 64055
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                      (1)                     (2)                          (3)                 (4)                      (5)

   Name of creditor           Name, telephone number and       Nature of claim     Indicate if claim is     Amount of claim [if
   and complete               complete mailing address,        (trade debt, bank   contingent,              secured also state value
   mailing address            including zip code of            loan, government    unliquidated, disputed   of security]
   including zip              employee, agent, or department   contract, etc.)     or subject to setoff.
   code                       of creditor familiar with
                              claim who may be contacted.



13 William Cordell, Jr.                                                                                                         $2,100
   37706 Emerson Street
   Palm Desert CA 92260




14 Gary Stancliff                                                                  Unliquidated                                 $1,950
   2142 Cedar Valley Court
   Henderson NV 89052




15 Marlene Savage                                                                                                               $1,800
   138 20 Street Unit 14
   Santa Monica CA 90403




16 Raymond Gloria                                                                                                               $1,636
   5824 NE 61st
   Kansas City MO 64101




17 Drew Titus                                                                                                                   $1,525
   21107 E. 2nd Street
   Independence Mo 64052




18 Jim Stevens                                                                                                                  $1,200
   4616 W. Sahara #142
   Las Vegas NV 89102




19 Israel Aguilar                                                                  Unliquidated                                   $612
   8017 NE San Rafael Drive
   Kansas City MO 64119




20 Michael Palmer                                                                  Unliquidated                                   $473
   8349 Heron Circle
   Oolteway TN 37363
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                                        DECLARATION UNDER PENALTY OF PERJURY
                                             ON BEHALF OF A CORPORATION
                      I, the undersigned authorized agent of the corporation named as the Debtor
                 in this case, declare under penalty of perjury that I have read the foregoing "List of
                 Creditors Holding 20 Largest Unsecured Claims" and that it is true and correct to the best
                 of my knowledge, information and belief.




             03/28/2012                                              X   /s/ Wayne Reeder
             Date                                                        Signature of Authorized Individual

                                                                         Wayne Reeder, President/CEO
                                                                         Printed Name and Title
